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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 16-CR-60190-BLOOM

  UNITED STATES OF AMERICA,        :
                                   :
             Plaintiff,            :
                                   :
                                   :
  v.                               :
                                   :
  RAMON BATISTA,                   :
                                   :
             Defendant.            :
  ................................ :

      RESPONSE TO MOTION FOR REDUCTION OF SENTENCE PURSUANT TO
              FEDERAL RULE OF CRIMINAL PROCEDURE 35(b)

      The Defendant, RAMON BATISTA, through undersigned counsel, respectfully files this

  response to the Government’s Motion for Reduction of Sentence pursuant to Federal Rule

  of Criminal Procedure 35(b) (DE 240) stating as follows:

         1.     On June 26, 2020, the Government filed a Motion for Reduction of Mr.

  Batista’s Sentence pursuant to Federal Rule of Criminal Procedure 35(b). (DE 240).

         2.     Undersigned counsel agrees with the Government’s motion and request for

  hearing and will be filing, separately, a waiver of Mr. Batista’s appearance.

                                                    Respectfully submitted,

                                                    PAUL D. PETRUZZI, ESQ.
                                                    LAW OFFICES OF PAUL D. PETRUZZI, P.A.
                                                    8101 Biscayne Blvd.
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                                                    By:   /s/ Paul D. Petruzzi
                                                          PAUL D. PETRUZZI, ESQ.
                                                          Florida Bar No. 982059


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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 29, 2020, a true and correct copy of the

  foregoing was furnished by CM/ECF to all counsel of record.


                                                 By:   /s/ Paul D. Petruzzi
                                                       PAUL D. PETRUZZI, ESQ.
                                                       Attorney for Defendant




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